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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 UNITED STATES OF AMERICA                        : CASE NO. 3:17cr62

        Plaintiff,                               :
                                                     JUDGE WALTER H. RICE
 vs.                                             :

 ANDREW DEMMA                                    :

        Defendant.                               :


       ENTRY REFERRING DEFENDANT TO THE FORENSIC PSYCHIATRY
       CENTER FOR WESTERN OHIO FOR PURPOSES OF A MENTAL STATUS
       EVALUATION, PURSUANT TO 18 U.S.C. '3552(c); PROCEDURES
       ORDERED OF COUNSEL


       This Court, upon its own motion, pursuant to 18 U.S.C. '3552(c), refers Defendant herein

to the Forensic Psychiatry Center for Western Ohio, for the purposes of a mental status evaluation.

       Defendant is currently on bond with this Court, awaiting sentencing. The Court requests

Dr. Marciani to contact defendant’s counsel, Richard Mayhall, at 937-323-4004, to facilitate the

scheduling of an appointment.

       A conference call with the Court, counsel, and Dr. Marciani has been set for Wednesday,

November 4, 2020 at 11:30 a.m.




 November , 2020                                                         WSSHU-XGJH5LFHDXWKRUL]DWLRQDIWHUKLVUHYLHZ 

                                       WALTER H. RICE
                                       UNITED STATES DISTRICT JUDGE
Copies to:
Counsel of record
